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Attorneys for Albert Togut, Not
  Individually But Solely in His Capacity
  as the Chapter 7 Trustee of
  Chowaiki & Co. Fine Art Ltd.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------- X
                                                               :
In re:                                                         :   Chapter 7 Case
                                                               :   No. 17-13228 [MKV]
CHOWAIKI & CO. FINE ART LTD.,                                  :
                                                               :
                                            Debtor.            :
                                                               :
-------------------------------------------------------------- X

                                             NOTICE OF SALE

                 PLEASE TAKE NOTICE THAT pursuant to the Order Pursuant to

Bankruptcy Code Section 363 Authorizing the Sale of the Estate’s Interest in Hardbound Art

Reference Books [Dkt. No. 30], on January 16, 2018, Albert Togut, not individually but

solely in his capacity as Chapter 7 Trustee of the estate of Chowaiki & Co. Fine Art Ltd.,

the debtor in the above-captioned case (the “Debtor”), consummated the sale of the

estate’s interest in a collection of approximately 350 hardbound art reference books that

were located at the Debtor’s business premises to Argosy Bookstore for $3,500.

DATED: New York, New York                             ALBERT TOGUT, not individually but
       January 16, 2018                               solely in his capacity as Chapter 7 Trustee,
                                                      By his Attorneys,
                                                      TOGUT, SEGAL & SEGAL LLP
                                                      By:

                                                       /s/ Neil Berger
                                                      NEIL BERGER
                                                      One Penn Plaza
                                                      New York, New York 10119
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